Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 1 of 9
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                                                                         U.S.D.C. - Atlanta
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                                                                                   AUG 16 2022
                                                                                KEW,, ~ JOU:IMER, Clerk
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         UNITED STA TES DISTRICT COURT
         NORTHERN DISTRICT OF GEORGIA
               ATLANTA DIVISION


 RAISSA DJUlSSl KENGNE.                            §
 Plainti lT                                        §
                                                   §
 Y.                                                §
 WESLEY FREEMAN; RDO USA, LL P: SCOTr              §   Civ il Acti on File No.
 MEIER: PAUL DAVISON; JASON CUDA;                  §   I :22-cv-02653-SEG-CMS
 JUSTIN WILKES; ANTHONY REH;                       §
 PETER POPPO; MARK DAVEN PORT:                     §   (Related Case:
 JOI I SO    WONG ; JUSTIN MUNGAL,                 §   ~oncv365268)
                                                   s
                                                   ~

  Bt::/\CON MANAGEMENT SERVICES. l~LC              §
  LISA SIMMONS: STEVEN WClBEL;                     §
  12.80 WEST CO DOM INIUM ASSOCIAT ION ;           §
  MIC! IAEL SI IINNERS;                            §
                                                   §
  MIC/\11 KURTZBERG: RONNIE BRIDG ES:              §
  1mr~ IT DETTMERING: MIC! IA[L SI IAFITR:         ~
                                                   ~

  ROI 1/\N RUPANI.                                 §
                                                   §
  Fl CH MCCRAN lf~:                                s
                                                   ~
  MICHA EL SULLIVAN; WALTER JOSPIN.                §
  and                                              §
                                                   §
  INTERFACE. INC.:                                 §
  A n .AN TIClJS HOU)INCiS COR PORATION:           §
  SPAR GROU P, INC. (NMS SPAR);                    §
  BIOllORIZONS IMPLA T SYSTEMS. INC.               §
  (an I lenry Schein Subsid iary): KAS NA DERI ,   §
  Defendants.                                      §   JURY TRIAL DEMANDED



                PLAINTIFF"S NOTI CE Of APPEAL



                                     Page 1 of 8
Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 2 of 9
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          UNITE·o STA TES DISTRICT COURT
          NORTHERN DISTRICT OF GEORGIA
                 ATLANTA DIVISION


 RAISSA DJUISSI KENGNE.                        §
 Plainti ff.                                   §
                                               §
 V.                                            §
 wi-::su::Y FREEMA ; RDO USA. I ,LP: sco-rr    §      Civ il Action File No.
 METER ; PA UL DAVISON; JA SON CUDA:           §      I :22-cv-02653-SEG-CMS
 JUSTIN WILKES ; ANTHONY REH ;                 §
 PETER POPPO; MARK DAVENPORT:                  §      (Related Case:
 JOI INSON WONG ; JUSTIN MUNG/\. L.            § 1011CV365268)
                                               ss
  BCACON MANAGEMENT SERV ICES. LLC ;           §
  LI SA SIMMONS: STEVEN WEIBEL;                §
  1280 WEST CONDOM INIUM ASSOC I/\.TlON:       §
  MICHA EL SI IINN ERS;                        §
                                               §
  MIC.I\!! KURTZBERG: RONN IE BRIDGES:         §
  BRCTT IJCTTM[RING: MIC! IA[L SI IArrrR:      s":,
  ROH/\   RUPAN I.                             §
                                               §
  Fl C H MCCRAN IE;                            §
  MICHA EL SU LLIVAN; WALTER JOSPIN.           §
  and                                          §
                                               §
  INTERFACE. INC.:                             §
  A l"LANTICUS I IOLl) INC,S CORPORATION:      §
  SPAR GROUP, INC. (NMS SPAR);                 §
  BI OHORTZONS IMPLANT SYSTEMS. INC.           §
  (an Henry Schein Subsidiary): KAS NADERI,    §
  Defendants.                                  §      JURY TR IAL DEMANDED



              PLAINTIFF'S NOTICE OF APPEAL



                                 Page 1 of 8
Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 3 of 9




        NOTICE is hereby g iven that Plaintiff Raissa Djuiss i Kengne

 appeals as of ri ght to the Un it ed States CoULt of Appeals for the Federal

 Circuit from the R eport and Recommendation and order of Judge

 Catheri ne M. Sal in as:

               •      ORDER entered on July 25 th , 2022 and fil ed on July

        26 th , 2022 to the exte nt that it DIRECTED AND ORDERED

        C lerk to STRIKE P laintiffs orig ina l complaint from the docket

        [Doc. l- 1 J as a prohibited shotgun complaint.

               •      ORDER entered on July 25 th , 2 022 and fil ed on July

        26 th , 2022, to the extent that it DENTED P laintif-f s motion to

        reman d her case to state co u1i;

               •      ORDER e ntered on July 25th, 2 022 and fil ed on July

        26 th , 20:22 to the exte nt that it DENTED Plai ntiffs motion to stay

        a ll motions to dis miss until the Court ru les on Pla intiffs moti on

        to remand. [Docs. 30, 3 I].


                            CERTIFICATION




                                  Page 2 of 8
                                             -
Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 4 of 9




 Under Federal Rule of Civil Procedure I I, T certify to the best of my

 knowledge, information, and beli cl' that this complaint: (1) is not be ing

 presented for an improper purpose, s uch as to harass, cause unnecessary

 delay, or needless ly increase the cost of liti gation; (2) is supported by

 existing law o r by a nonfrivolous a rgument for extending, modifying,

 or revers ing ex isting law; (3) the factual contenti ons have evidentiaty

 support or, if specifically so identified, wi ll likely have evidentiaty

 suppo rt after a reasonab le o pportun ity for further investigation or

  discovery; and (4) the complaint otherw ise complies with the

  requirements of Rul e l l .

  I agree to provide the Clerk's Office w ith any chan ges to my address

  where case related papers may be served. l understand that my fa ilure

  to keep a current address o n file with the C lerk ' s Office may res ult in

  the dismissal of my case.


  (Signature page follows)




                                   Page 3 of 8
Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 5 of 9




  Dated: A ug ust 12th, 2022


                                                   Resp~ t:abm i~ed,


                                                   Raissa D-1'ui ss i K en°ne
                                                                          t:,
                                                   Pro Se

  Physical Address:                                Mai ling Address :
  1280 W. Peachtree ST NW. ,                       570 P iedmont Ave. NE,
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  At lanta , GA 30309                              A tlanta, GA 30308
  E mail : cianeseya 2022@2gm a il .com
  Telephone :(404 )932- 1651


  State of Georgia
  County of Fulton

  T hi s instrume nt was acknowled ged before m e this    ~d ay of A ugust
  (month), 2022 (year), by Raissa Dju iss i K engne (name of signer).

  ~       Personally Known
  -✓-     Produced Identificat ion




        Jocelyn Aftarin
       NOTARY PUil.iC
    CObb County, GECWJIA
My Commission Expires CWOl/2026
                                                   Notary Public, State of
                                                   Geo rg ia




                                     Page 4 of 8
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      IN THE UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF GEORGIA
                ATLANTA DIVISION

 R/\ISS/\ DJU ISS I KENGN E.                    §
 Pia inti n-:                                   §
                                                ~
 V.                                             §
 WCSLEY FREEMAN: BDO lJSA. LLP; SCOTT           §   Civil A ction File No.
 MEIER: P/\UL DAV ISON: JASON CUDA:             §   I :22-cv-02653-SEG-CMS
 JUSTIN WILKES; ANTI IONY REI I:                §
 PETER POPPO: MARK DAVENPORT; ET. AL.           ~   (Related Case:
                                                § 2022CV365268)
 Defe nd ants.                                  § JURY TRl AL DEMANDED


                 CERTI FI CATE OF COMPLIANCE

       l hereby cert ify that the fo rego ing d ocument was prepared w ith
 one of the fo nt and po int se lections approved by the Court in LR 5. lB:
 Times New Roman 14.

 Dated: August 12 111 , 2022




                                                Raissa ~ui ss i K eng ne
                                                P ro Se
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                                 Page 5 of 8
Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 7 of 9




      IN THE UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF GEORGIA
                ATLANTA DIVISION

 RAI SSA DJU ISSI KENGNE.                      §
 Plaintiff:                                    §
                                               ~
 V.
 WESLEY f-REEMA : UDO USA. LLP; SCOTT          *§ Civi l Action File No.
 MF IFR: PAUL DJ\ YISON: JASON CU DA:          §   1:22-cv-02653-SEG-CMS
 JUST! WILK ES; ANTI IONY REI I:               §
 PETER POPPO; MARK DA YENPORT; ET. AL.         §   (Related Case:
                                               §   2022CV365268)
 De1endants.                                   §   JURY TR1AL DEMANDED



               CERTIFICATE OF SERVICE

       The unde rsig ned hereby certifies that on August 12t11, 2022, all
 counsel of record who are deemed to have consented to e lectroni c
 service a re being served a true and correct copy of the foregoi ng
 document us ing the Co urt's C M/ECF system. in co mpliance w ith Local
 Rules, by mailing the same, certified mail with return receipt, to all
 counsel, to wit:
 Defendants' attorney's names and addresses

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                        Telephone: 470-552-




                                Page 6 of 8
Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 8 of 9




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 Wilkes, Anthony                                      Shinners, Micah
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  Corporation and Kas
  Naderi.

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Case 1:22-cv-02653-SEG-CMS Document 39 Filed 08/16/22 Page 9 of 9




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